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DOROTHY BROW
CIRCUIT CLERK
COOK COUNTY, It

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IN THE CIRCUIT COURT OF COOK COUNTY 6662331

COUNTY DEPARTMENT, LAW DIVISION

 

CLAUZELL H. WILLIAMS, )
_ ) 2019L010384
Plaintiff, ) Case No.
)
V. ) Judge
)
UNION PACIFIC RAILROAD, ) JURY TRIAL DEMANDED
COMPANY, )
)
Defendant. )
COMPLAINT

Plaintiff, Clauzell H. Williams (“Mr. Williams”), by and through his undersigned counsel,
alleges and states as follows as his Complaint against Defendant, Union Pacific Railroad Company
(“UPR”).

THE PARTIES

1. ‘Plaintiff, Mr. Williams, is an Africa-American male, who is a citizen and resident
of the State of Illinois and of this County. At all relevant times, Mr. Williams was employed by
UPR.

2. Defendant, Union Pacific Railroad (“UPR”), is an Hlinois corporation that at all
relevant times regularly and continuously transacted business and was doing business in the State
of Ilinois and Cook County. At all relevant times, UPR was the employer of Mr. Williams.

3. | Venue is proper in this Court pursuant to 735 ILCS 5/2-101(1) and (2).

BACKGROUND FACTS

4, Mr. Williams was employed by UPR, beginning on or about February 1999 and

continuing until approximately March 21, 2019, at which time UPR refused to allow Mr. Williams

to work or to return to work.

 
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5. During his employment with UPR, Mr. Williams held the position of Utility Clerk
at Defendant’s facility located in Northlake, Illinois.

6. | At all relevant times, Mr. Williams met and/or exceeded UPR’s legitimate
performance expectations.

7. Mr. Williams has a recognized disability that is covered by the Illinois Human
Rights Act (“the Act”). That condition relates to and arises out of a heart condition, including
congestive heart failure, which requires Mr. Williams to use a defibrillator.

8.  Atall relevant times, UPR knew of, and had notice of, Mr. Williams’ disability.

9. UPR failed and refused to engage in the interactive process with Mr. Williams, or
to attempt to provide Mr. Williams with any reasonable accommodations, including those that he
requested.

- 10. In or about December 2018, UPR informed Mr. Williams that it would
accommodate his condition and allow him to return to work, but not with UPR,

11. Thereafter, UPR took no action to employ Mr. Williams, to reasonably
accommodate Mr. Williams, or to employ him with someone else — as UPR claimed it would.

12. As of March 21, 2019, Mr. Williams was able to fully perform the essential
functions of his position, with or without reasonable accommodations. Nonetheless, UPR refused
to allow Mr. Williams to return to work or to work. In addition, UPR imposed additional medical
conditions and testing upon his return to work, without a basis for doing so — and without engaging
in the interactive process with him.

13. UPR’s bases for refusing to employ Mr. Williams, or to provide reasonable
accommodations, or to allow him to work or return to work are pretexts for unlawful

discrimination.

 
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14. In addition, other similarly situated employees, who are not African-American,
have been reasonably accommodated and allowed to return to work and work.

15. UPR has engaged in these discriminatory acts because of Mr. Williams’ disability
and because of his race. |

16. On April 11, 2019, Mr. Williams timely filed a Charge of Discrimination with the
Illinois Department of Human Rights (“IDHR”).

17. Subsequently, on or about June 27, 2019, Mr. Williams’s counsel received a Notice
from the IDHR, dated June 24, 2019, granting him leave to Opt Out of the IDHR’s procedures for
processing of Charges.

18. Accordingly, Mr. Williams has timely filed this action in accordance with that
Notice of Opt Out.

LEGAL CLAIMS
COUNT I
(VIOLATION OF THE ILLINOIS HUMAN RIGHTS ACT-
DISABILITY DISCRIMINATION)

19. Mr. Williams re-alleges and incorporates by reference the allegations set forth in
Paragraphs | through 18 above, as though fully set forth herein, as Paragraph 19 of Count I.

20. Atall relevant times, Mr. Williams was an “employee” of UPR within the meaning
of the Illinois Human Rights Act (the “Act”). See 775 ILCS 5/2-101.

21. Atallrelevant times, UPR was the “employer” of Mr. Williams within the meaning
of the Act. Id.

22. The Act forbids an employer from, inter alia, discriminating against an employee

because of his/her disability or handicap. See 775 ILCS 5/2-102; 775 ILCS 5/103; 775 5/103(Q).

 
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23. Asset forth above, UPR discriminated against Mr. Williams by failing to allow him
to work, by failing to return him to work, by failing to reasonably accommodate his condition, and
by subjecting him to unequal terms and conditions of his employment.

24. In violating the Act, UPR acted intentionally, willfully, wantonly, and with
intentional disregard for Mr. Williams’ rights and the Act.

25. Asadirect and proximate result of the UPR’s discriminatory actions in violation of .
the Act, Mr. Williams has suffered damages, including but not limited to: loss of salary, loss of
benefits, and emotional distress.

WHEREFORE, Plaintiff, Mr. Williams, by and through his undersigned counsel,
respectfully prays for the entry of judgment in his favor and against Defendant, Union Pacific
Railroad Company, on Count I of his Complaint, in an amount to be more fully proven at trial, for
pre-judgment interest, for his attorneys’ fees and costs, for emotional distress damages, for
punitive damages, back pay, front pay, future retirement/pension benefits and distributions, and
for all such other relief that is just and proper under the circumstances and recoverable under the
Act.

. COUNT II
(VIOLATION OF THE ILLINOIS HUMAN RIGHTS ACT-
RACE DISCRIMINATION)

26. Mr. Williams re-alleges and incorporates by reference the allegations set forth in

Paragraphs | through 18 above, as though fully set forth herein, as Paragraph 26 of Count II.

27. The Act forbids an employer from, infer alia, discriminating against an employee

because of his/her race. See 775 ILCS 5/2-102.

 
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28. UPR discriminated against Mr. Williams based upon his race by failing to allow
him to work, by failing to return him to work, by failing to reasonably accommodate his condition,
and by subjecting him to unequal terms and conditions of his employment — all because of his race.

29. In violating the Act, UPR acted intentionally, willfully, and wantonly, and with
intentional disregard for Mr. Williams’ rights and the Act.

30. Asadirect and proximate result of UPR’s discriminatory actions in violation of the
Act, Mr. Williams has suffered damages, including but not limited to: loss of salary, loss of benefits
and emotional distress.

WHEREFORE, Plaintiff, Mr. Williams, by and through his undersigned counsel,
respectfully prays for the entry of judgment in his favor and against Defendant, Union Pacific
Railroad Company, on Count II of his Complaint, in an amount to be more fully proven at trial,
for pre-judgment interest, for his attorneys’ fees and costs, for emotional distress damages, for
punitive damages, back pay, front pay, future retirement/pension benefits and distributions, and
for all such other relief that is just and proper under the circumstances and recoverable under the
Act.

RESPECTFULLY SUBMITTED,
By: —s/ Michael I. Leonard
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